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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

Pharmaceutical manufacturers—for example, Company | and Company 2—sell their
products to wholesale distributors (including Company 3 and Company 4, both of which have
warehouse locations in Virginia), which then sell those products to pharmacies. The pharmacies
provide the drugs to consumers who have valid prescriptions. Wholesale distributors sell their
products to individual pharmacies through the use of delivery drivers. The drivers transport the
drugs in individual packs from the distributors to the pharmacies. Defendant FODAY NABIE was
a driver for wholesale pharmaceutical distributors who worked for Company 5, in Jessup,
Maryland.

On October 25, 2019, Confidential Source 1 (“CS1”) was working as a pharmacist at
Pharmacy | when he met NABIE. That day, NABIE promised CS1 that he could sell CS]
prescription drugs for half price. CS1 asked NABIE how he could sell drugs at half price, and
NABIE told CS1 that he knew a manager at a warehouse. NABIE told CS1 that he already had
this arrangement in place with Pharmacy 2 in Oxon Hill, Maryland, and Pharmacy 3 in Fairfax,
Virginia. NABIE stated that he made his normal deliveries to those pharmacies, and returned to
the pharmacies later in the day with the excuse that he forgot to deliver one pack of pharmaceutical
drugs. This was the pack that contained stolen prescription drugs that NABIE sold at half price.

On October 28, 2019, CS1 returned to Pharmacy | to meet NABIE. NABIE told CS1 that
in the past, some of the pharmaceutical drugs he obtained were Duexis, Epiduo Forte, and
Pennsaid. NABIE further told CS1 that he expected to obtain drugs that week, and when he did so
he would contact CS1 on his cell phone. NABIE added that the two should not talk too much over
the phone and instead meet in person.

On October 29, 2019, CS1 and NABIE arranged to meet at Pharmacy 4 in Centreville,
Virginia. NABIE offered a box—which was a sealed case of the prescription drug Eliquis—to
CS1. The case contained 24 bottles of Eliquis, where each bottle contained 60 tablets. NABIE told
CS1 he would give this case to CS1 for $5,000 cash. The wholesale acquisition cost is the price at
which drug manufacturers sel! their products to wholesale distributors. Based on this cost, the box
was worth over $5,000. CS1 later negotiated with NABIE to buy the box for $2,500. On November
4, 2019, CSI made a controlled payment of $2,500 for the box of Eliquis.

NABIE sold stolen prescription drugs to CS1 on three other occasions in Virginia. On
November 26, 2019, CS1 made a controlled payment to NABIE of $3,000 for the case of Oracea
and the nine other prescription drugs. On December 12, 2019 meeting, CS] made a controlled
payment to NABIE of $2,000 for the box of Epiduo Forte. On January 29, 2020, CS1 made a

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controlled payment to NABIE of $2,500 for a case of Soolantra. In total, NABIE obtained $10,000
in proceeds traceable to NABJE’s interstate transportation of stolen property.

After the final controlled payment on January 29, 2020, the FBI executed a search warrant
of NABIE’s person and residence in Maryland. During the execution of the search warrant, FBI
recovered approximately $2,500 in U.S. Currency which was derived from proceeds NABIE
obtained from his offense. NABIE was interviewed and during the interview, NABIE—who was
advised of and waived his Miranda rights—admitted that he had taken Soolantra from Company
5’s warehouse in Maryland to deliveries he made in Virginia, then back to his house in Maryland
to keep them until he sold them to CS1.

SO STIPULATED:
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Jessica Collins
Assistant United v Attorneys

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